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. UNITED STATES COURT OF appras | L E D
JUN 28 2000

FOR THE NINTH CIRCUIT .
CATHY A. CATTERSON, CLERK
U.S. COURT OF APPEAL §
RUMSEY INDIAN RANCHERIA OF No. 98-17209
WINTUN INDIANS; et al.,

DC# CV-92-812-GEB

Plaintiffs, Eastern California __ __
(Sacramento) - a i. fy
ORDER
SYCUAN BAND OF MISSION INDIANS: JUL @ 1 2008
MORONGO BAND OF MISSION CLERK, U.S. DISTRICT COURT |
INDIANS; SOBOBA BAND OF ASTERN DISTRICT OF CALIFORN'

CAHUILLA MISSION INDIANS; SANTA
ROSA BAND OF TACHI INDIANS;
CACHIL DEHE BAND OF WINTUN
INDIANS OF THE COLUSA INDIAN
COMMUNITY; and ROBINSON BAND OF
POMO INDIANS,

Plaintiffs - Appellants,
v.

PETE WILSON, Governor; STATE OF
CALIFORNIA,

Defendants-Appellees.

. Case 2:92-cv-00814MEB-JFM Document 202 Filed 21/00 Page 2 of 8

x

RUMSEY INDIAN RANCHERIA OF No. 98-17213
WINTUN INDIANS, et al.,
DC# CV-92-812-GEB
Plaintiffs, Eastern California
(Sacramento)

and,

BARONA GROUP OF THE CAPITAN

GRANDE BAND OF DIEGUENO

MISSION INDIANS,
Plaintiff-Appellant,

Vv.

PETE WILSON, Governor; STATE OF
CALIFORNIA,

Defendants-Appellees.

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‘Case 2:92-cv-0081 MBEB-JFM Document 202 Filed @21/00 Page 3 of 8

x

RUMSEY INDIAN RANCHERIA OF No. 98-17215
WINTUN INDIANS, et al.,
DC# CV-92-812-GEB
Plaintiffs, Eastern California
(Sacramento)

and,

AGUA CALIENTE BAND OF CAHUILLA
INDIANS,

Plaintiff-Appellant,
Vv.

PETE WILSON, Governor; STATE OF
CALIFORNIA,

Defendants-Appellees.

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’ Case 2-92-cv-0081 MBEB-JFM Document 202 ‘Filed B21/00 Page 4 of 8

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RUMSEY INDIAN RANCHERIA OF
WINTUN INDIANS, et al.,

Plaintiffs,
and,

SAN MANUEL BAND OF MISSION
INDIANS; CABAZON BAND OF
MISSION INDIANS; VIEJAS
RESERVATION OF THE CAPITAN
GRANDE BAND OF DIEGUENO
MISSION INDIANS and SANTA YNEZ
BAND OF MISSION INDIANS,

Plaintiffs-A ppellants,
v.

PETE WILSON, Governor; STATE OF
CALIFORNIA,

Defendanis-Appellees.

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No. 98-17216

DC# CV-92-00812-GEB
Eastern California
(Sacramento)

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RUMSEY INDIAN RANCHERIA OF
WINTUN INDIANS; et al.,

Plaintiffs,
and
HOPLAND BAND OF POMO INDIANS,
Plaintiff - Appellant,
V.

PETE WILSON, Governor; STATE OF
CALIFORNIA,

Defendants-Appellees.

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‘Case 2-92-cv-0081 MBEB-JFM Document 202 ‘Filed 21/00 Page 5 of 8

No. 98-17217

DC# CV-92-812-GEB
Eastern California
(Sacramento)

Case 2:92-cv-0081MBEB-JFM Document 202 Filed @e21/00 Page 6 of 8

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RUMSEY INDIAN RANCHERIA OF
WINTUN INDIANS; TABLE MOUNTAIN
RANCHERIA; CHER-AE HEIGHTS
INDIAN COMMUNITY OF THE
TRINIDAD RANCHERIA,

Plaintiffs-A ppellants,
and,

SAN MANUEL BAND OF MISSION
INDIANS, et al.,

Plaintiffs,
Vv.

PETE WILSON, Governor; STATE OF
CALIFORNIA,

Defendants-Appellees.

No. 98-17218

BEFORE: FERGUSON, RYMER and HAWKINS, Circuit Judges

Pursuant to the stipulation of the parties, these appeals are remanded to the

District Court for further proceedings.

REMANDED.

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“A TRUE COPY

CATHY A, CATTERSON
Clark of Court

ATTEST

JUL 19 2000

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Case 2:92-cv-00812-GEB-JFM Document 202 Filed 07/21/00 Pageréof 8

United States District Court
for the
Bastern District of California
July 21, 2000

* * CERTIFICATE OF SERVICE * *

2:92-cv-00812

Rumsey Indian Ranch
v.

Wilson

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on July 21, 2000, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk’s office, or, pursuant to prior
authorization by counsel, via facsimile.

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